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                                                              December 12, 2018

VIA ECF

Honorable Vernon S. Broderick
United States District Judge
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, New York 10007

                          Re:      Almazo Vidal et al v. The Draft House LLC et al;
                                   18-cv-08819-VSB

Your Honor,

       This firm represents the Plaintiff Adolfo Humberto Almazo Vidal (“Plaintiff”) in the
above-referenced matter. Plaintiff writes jointly with Defendants The Draft House LLC (d/b/a
The Draft House), Maurizio Salierno, Luigi Ghidetti, and Fabrizio Pellizzon (“Defendants”), who
have reviewed and commented upon this letter, to request that the Court approve the settlement
agreement (“the Agreement”) reached by the parties herein as “fair and reasonable.” Wolinsky v.
Scholastic, Inc., 900 F. Supp. 2d 332, 335-36 (S.D.N.Y. 2012). The Agreement is attached hereto
as Exhibit A.

        Plaintiff has agreed to settle all of his claims in this action. Specifically, the Parties and
their counsel have considered that the interests of all concerned are best served by compromise,
settlement and dismissal of these claims with prejudice against these Defendants, in exchange for
consideration as set forth in the Agreement. The Agreement is the result of arms-length bargaining
between the Parties that culminated in the Agreement. The Agreement reflects a desire by the
Parties to fully and finally settle and compromise all of Plaintiff’s claims against all the Parties
asserted in this case as outlined more specifically in the attached Agreement.

        The Parties have concluded that the Agreement is fair, reasonable, adequate, and in the
Parties’ mutual best interests. For these reasons and based on the reasons set forth below, the
Parties jointly and respectfully request that that Court enter an Order approving the settlement as
fair and reasonable.

Background

        Plaintiff was employed by Defendants as a delivery worker and dishwasher from
approximately October 2016 until on or about September 2018. Throughout his employment,
Plaintiff typically worked 47 to 59 hours per week and was paid at a wage that escalated over this
period from around an initial $9.00 to a final $13.00 per hour.


                          Certified as a minority-owned business in the State of New York
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        Plaintiff thereafter brought this action seeking to recover unpaid minimum wages, overtime
wages, liquidated damages, interest, attorneys’ fees, and costs, pursuant to the Fair Labor
Standards Act of 1938, 29 U.S.C. §§ 201 et seq. (“FLSA”), the New York Minimum Wage Act,
N.Y. Lab. Law §§ 650 et seq., overtime wage orders of the New York Commission of Labor
codified at N.Y. Comp Codes R. & Regs. Tit. 12, § 146-1.6, and the N.Y. Lab. Law § 190 et seq.
Plaintiff also sought statutory damages for violations of the wage notice and wage statement
provisions in New York Labor Law § 195.

        Defendants disputed all of Plaintiff’s claims, including with respect to Plaintiff’s hours
worked, pay received and notices and statements provided. Therefore, after weighing the risks of
trial and costs of further litigation, the parties have reached an agreement at an early stage.

Settlement

        The parties have agreed to settle this action for the total sum of Fifteen Thousand Dollars
($15,000.00) which will be paid as outlined in Exhibit A. Plaintiff estimated that, in his best-case
scenario, he would be entitled to approximately $30,061.59, of which $9,347.50 would equal his
minimum and overtime base damages. However, if Defendants were to succeed, they estimate
that Plaintiff would be entitled to a minor amount, if anything at all.

       Ten Thousand Dollars ($10,000.00) of the settlement amount will be paid to the Plaintiff.
The remaining Five Thousand Dollars ($5,000.00) will be applied as attorneys’ fees and costs.

        There is a “strong presumption in favor of finding a settlement fair,” as “the Court is
generally not in as good a position as the parties to determine the reasonableness of an FLSA
settlement.” Lliguichuzhca v. Cinema 60, LLC, 948 F.Supp.2d 362, 365 (S.D.N.Y. 2013) (quoting
Crabtree v. Volkert, Inc., 2013 WL 593500, at *3 (S.D.Ala. Feb. 14, 2013)). “In considering
whether a settlement is fair and reasonable, the principal question is ‘whether the agreement
reflects a reasonable compromise of disputed issues [rather] than a mere waiver of statutory rights
brought about by an employer's overreaching.’” Id. (quoting Le v. SITA Info. Networking
Computing USA, Inc., 2008 WL 724155, at *1 (E.D.N.Y. Mar. 13, 2008)). Courts consider factors
including “(1) the Plaintiff’s range of possible recovery; (2) the extent to which ‘the settlement
will enable the parties to avoid anticipated burdens and expenses in establishing their respective
claims and defenses’; (3) the seriousness of the litigation risks faced by the parties; (4) whether
‘the settlement agreement is the product of arm's-length bargaining between experienced counsel’;
and (5) the possibility of fraud or collusion.” Wolinsky, 900 F.Supp.2d at 225 (quoting Medley v.
Am. Cancer Soc., No. 10-cv-3214 (BSJ), 2010 WL 3000028, at *1 (S.D.N.Y. July 23, 2010)).

        The agreement here is fair to Plaintiff. Plaintiff has been represented by counsel throughout
this lawsuit and has made an informed decision to settle the action at an early stage of litigation,
without incurring the costs or encumbrance of lengthy litigation and trial. Settlement at this stage
avoids the need for costly trial. Furthermore, the settlement agreement is the product of arm's-
length bargaining between counsel.
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Plaintiff’s Attorneys’ Fees are Fair and Reasonable1

        Under the settlement, Plaintiff’s counsel will receive $5,000.00 from the settlement fund
as attorneys’ fees and costs. This represents one third of the recovery in this litigation, a reduction
in fees from what is identified in Plaintiff’s retainer agreement, which provides that forty percent
of Plaintiff’s recovery will be retained by the firm.

        The amount provided to Plaintiff’s counsel under the settlement is fair and reasonable and
well within the range of fees typically awarded in cases in this Circuit. See Calle v. Elite Specialty
Coatings Plus, Inc., 2014 U.S. Dist. LEXIS 164069 at *9 (E.D.N.Y. Nov. 19, 2014) (“A one-third
contingency fee is a commonly accepted fee in this Circuit”). In light of the nature of the issues
herein, and the extensive negotiations necessary to reach the agreed-upon settlement, Plaintiff’s
requested award is reasonable.

        Given Plaintiff’s counsel’s significant experience representing plaintiffs in New York City
in wage and hour litigation, Plaintiff’s counsel was able to obtain a favorable pre-trial result due
to the parties’ cooperative exchange of information and negotiations. A brief biography of each
attorney who performed billed work in this matter is as follows:

         •    Michael Faillace: Mr. Faillace is the Managing Member of Michael Faillace &
              Associates, P.C, and has been in practice since 1983. His work is billed at $450 per
              hour. From 1983 to 2000, he was in-house Employment Counsel with International
              Business Machines Corporation (IBM). Mr. Faillace taught employment
              discrimination as an Adjunct Professor at Fordham University School of Law since
              1992 and at Seton Hall University Law School from 1995 to 1998, and is a
              nationally-renowned speaker and writer on employment law. He also is the author of
              the ADA, Disability Law Deskbook: The Americans with Disabilities Act in the
              Workplace, published by Practicing Law Institute (PLI), and other employment law
              publications and presentations. His work is billed at the rate of $450 per hour and
              indicated by the initials “MF.”
         •    Haleigh Amant is an associate at Michael Faillace & Associates, P.C. Since graduating
              law school in 2017 from the George Washington University Law school, she has been
              practicing strictly employment law and representing employees in wage and hour
              disputes. Her work is billed at $250 per hour and indicated by the initials “HA.”

       The lodestar amount for Plaintiff’s attorneys’ fees is $4,488.00. A copy of Plaintiff’s
attorneys’ billing records is annexed hereto as Exhibit B.

        The requested attorneys’ fees and costs in the parties’ settlement are reasonable under the
circumstances and Plaintiff has agreed to these fees and costs by agreeing to the settlement amount.
As a result, the fees should be approved. However, should the Court disagree and find it necessary
to reduce the portion of the settlement amount to be applied to Plaintiff’s attorneys from that

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 Defendants do not write jointly with Plaintiff on this section of this letter, except for its last sentence. Defendants
express no view on the reasonableness of the requested attorneys fees and costs.
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proposed herein, the parties and Plaintiff’s attorneys respectfully request that the Court approve
the settlement agreement with the maximum distribution to Plaintiff’s attorneys that the Court
deems appropriate.


Conclusion

       Plaintiff has been represented by counsel throughout this lawsuit, and Plaintiff’s counsel
has agreed to the settlement amount based on the approval of his client. Plaintiff’s interests have
thus been adequately safeguarded.

       In full consideration of the issues presented in Cheeks, we believe that the parties’
agreement is fair and reasonable, and that the settlement should be approved. A Stipulation of
Final Dismissal will be filed for so-ordering upon receipt of confirmation from the Court that the
settlement has been approved.

       Thank you for your consideration in this matter.

                                                     Respectfully Submitted,

                                                     /s/ Michael Faillace
                                                     Michael Faillace, Esq.
                                                     Michael Faillace & Associates, P.C.
                                                     Attorneys for Plaintiffs


cc:    All Attorneys of Record (via ECF)
